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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
                                                                      X
                                                                                 )
   ALLSTATE INSURANCE COMPANY, et al.,                                                  08-CV-4405
                                                                                 )
                                             Plaintiffs,                         )      (PKC) (PK)
                                                                                 )
                    -against-                                                    )  SATISFACTION OF
                                                                                 ) JUDGMENT    SOLELY
   MARK MIRVIS, et al.,                                                          )     AS TO IGOR
                                                                                 )    ZHURAVSKY
                                             Defendants.
                                                                                 )
   ----------------------------------------------------------------------------- X


  TO:    DOUGLAS C. PALMER, CLERK
         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK


         PLEASE BE ADVISED that the Judgment entered against Defendant Igor Zhuravsky

  (“Zhuravsky”) by Deputy Clerk Janet Hamilton on April 8, 2015 pursuant to the order of the

  Hon. Sandra L. Townes, U.S.D.J., of the United States District Court for the Eastern District of

  New York in case number 1:08-CV-4405 (PKC) (PK) dated March 31, 2015, as amended by the

  Corrected Judgment dated May 5, 2015, in the amount of $45,657,401.01, in favor of Plaintiffs-

  Judgment Creditors (“Plaintiffs”) has been satisfied solely with respect to Defendant Zhuravsky.

         This Satisfaction of Judgment shall be your authority to cancel the record of the aforesaid

  Judgment solely as to Defendant Zhuravsky. Nothing herein shall be construed or interpreted as

  affecting or discharging the aforementioned Judgment or any other judgment Plaintiffs have

  obtained against any other Defendant in the above-captioned action.
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         I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.




  Dated: New York, New York
         February 21, 2019


                                                       MORRISON MAHONEY LLP


                                                 By:       /s/ Andrew Midgett
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                                                       Daniel S. Marvin, Esq.
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                                                       Creditors Allstate Insurance Company,
                                                       Allstate Indemnity Company, Deerbrook
                                                       Insurance Company, Allstate New Jersey
                                                       Insurance Company and Allstate
                                                       Property & Casualty Insurance Company




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